Case 2:04-cr-20339-.]PI\/| Document 40 Filed 07/01/05 Page 1 of 2 Page|D 36

mm BY._%__“_,_D_G

IN THE UNITED STATES DISTRICT COURT 05 JUL __’ AH .,, 5b
FOR THE WESTERN DISTRICT OF TENNESSEE '

WESTERN DIVISION H-i~j,g.i:@ ;.\,;_ MD
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UNITED STATES OF AMERICA,

P|aintiff, Case No.: 04-203 39 D

VS.

LEANDRE BARNER,

Defendant.

 

ORDER OF TRANSFER

 

The above-styled case is hereby transferred to Judge J on P. McCalla, as this Defendant has

a case pending before Judge McCal]a.

IT ls so ORDERED this 3 O `p&`ay cf % ,,,¢;.._ 2005.

ITED STATES DISTRICT JUDGE

 
 
   

`T‘nis dusa_mem eni'ereo' on me docket shea in compliance
mh R.ne 55 and/or 32&3) FRCrP on _;L',Q§;H_

UNITED sTATE DISTRIC COUR - W"'RNTE D's'TRCT oFTENNESSEE

     

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:04-CR-20339 Was distributed by faX, mail, or direct printing on
July ], 2005 to the parties listed.

 

 

Steffen G. Schreiner

LAW OFFICE OF STEFFEN G. SCHREINER
369 N. Main

i\/lemphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

